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                                           July 11, 2023
VIA ECF

Honorable Brendan L. Shannon
United States Bankruptcy Court District of Delaware
824 North Market Street, 6th Floor
Wilmington, DE 19801

Re: Desolation Holdings LLC, et al., Case. No. 23-10597(BLS)

To the Honorable Judge Shannon:

        The U.S. Securities and Exchange Commission (“SEC”) writes this letter to
inform the Court of a case from this District regarding the application of Section
502(b)(9) of the Bankruptcy Code in Chapter 11 cases. The SEC did not cite to the
case in the SEC’s initial objection filed on July 6, 2023, because it was difficult to
locate and not electronically available. The SEC Staff was able to retrieve a copy of
the case from the clerk’s office, but after the SEC’s July 6 objection was filed. The
case is In re Metrocall, Inc., et al., Case No. 02-11579 (RB) (Bankr. D. Del. June 6,
2002) (decision denying Debtors’ Motion seeking to shorten the government bar
date in a Chapter 11 case) (copy attached as Exhibit A.) In Metrocall, the Court held
that “[a] bar order that does not allow governmental units at least 180 days to file
proofs of claim cannot be reconciled with Section 502(b)(9), and therefore, even if
apparently authorized by the Bankruptcy Rules cannot be valid.” Id.

                                    Respectfully submitted,

                                    /s/ Patricia Schrage
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